
Motion by John A. Steel for leave to appeal dismissed upon the ground that he is not a party aggrieved (CPLR 5511). Motion by Marion H. Straton, insofar as it seeks leave to appeal from the March 27, 1997 Appellate Division order, dismissed upon the ground that that order does not finally determine the action within the meaning of the Constitution; motion by Marion H. Straton, insofar as it seeks leave to appeal from Justice Mazzarelli’s April 22, 1997 order, dismissed upon the ground that no appeal lies from an order of an individual Justice of the Appellate Division (NY Const, art VI, § 3 [b]; CPLR 5602). Motion for a stay dismissed as academic.
